                                                                                                                                                          6/21/19 5:11PM


 Fill in this information to identify your case:

 Debtor 1                 Jeffrey E DeWeese
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF CALIFORNIA

 Case number           19-30625
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      851 Van Ness Avenue #408 San                                    $990,000.00                              $75,000.00      C.C.P. § 704.730
      Francisco, CA 94109 San Francisco
      County                                                                               100% of fair market value, up to
      Line from Schedule A/B: 1.1                                                          any applicable statutory limit

      2009 Volvo SUV XC 90 80,000 miles                                 $5,000.00                                $3,325.00     C.C.P. § 704.010
      in good condition
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc Household Goods and                                          $4,000.00                                $2,000.00     C.C.P. § 704.020
      Furnishings
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household Electronics                                             $1,000.00                                $1,000.00     C.C.P. § 704.020
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Misc Clothing                                                       $500.00                                  $500.00     C.C.P. § 704.020
      Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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 Debtor 1    Jeffrey E DeWeese                                                                           Case number (if known)     19-30625
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Misc Jewelry                                                       $1,000.00                                $1,000.00        C.C.P. § 704.040
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Deweese MD (Looking Glass)                                       $161,000.00                             $161,000.00         C.C.P. § 704.115(a)(1) & (2),
     Retirement Plan                                                                                                              (b)
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     American Fund IRA                                                 $14,882.00                              $14,882.00         C.C.P. § 704.115(a)(1) & (2),
     Line from Schedule A/B: 21.2                                                                                                 (b)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jackson Life Insurance with no cash                               $27,501.00                                     $0.00       C.C.P. § 704.100
     value and death benefit
     Line from Schedule A/B: 23.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Smartskin and Picosure Laser                                     $210,000.00                                $2,725.00        C.C.P. § 704.060
     System(5 years old equipment).
     Smart Lipo is obsolete and subject to                                                 100% of fair market value, up to
     an offset. Original lender BOA but                                                    any applicable statutory limit
     re-financed with Direct Capital.
     Line from Schedule A/B: 40.1

     Cynergy Software Upgrade and                                      $40,000.00                                $2,000.00        C.C.P. § 704.060
     Vectus (4 years old)
     Line from Schedule A/B: 40.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     medical office imagers, aspirator,                                 $5,000.00                                $2,000.00        C.C.P. § 704.060
     and related items
     Line from Schedule A/B: 40.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Medical Supplies includes                                        $10,000.00                                $2,000.00        C.C.P. § 704.060
     medication(s)
     Line from Schedule A/B: 40.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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